8:06-cr-00312-JFB-FG3            Doc # 107      Filed: 07/16/07       Page 1 of 2 - Page ID # 248




                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )       8:06CR312
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
JAVIER GALVAN-DUQUE,                                    )
MARIO AYALA-REYNA,                                      )
                                                        )
                                Defendants.             )


          NOW ON THIS 16th day of July, 2007, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

          1. On May 7, 2007, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 841(a)(1), 841(b)(1) and 853, based upon the

Defendants’ pleas of guilty to Counts VII, IX, X and XI of the Superceding Indictment filed herein.

By way of said Preliminary Order of Forfeiture, the Defendants’ interest in $33,540.00, $3,900.00

and a 1999 Jeep Grand Cherokee Limited, VIN 1J4GW68N7XC672415 was forfeited to the United

States.

          2. On May 31, June 7 and 14, 2007, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on July 13, 2007 (Filing No.

105).
8:06-cr-00312-JFB-FG3          Doc # 107       Filed: 07/16/07     Page 2 of 2 - Page ID # 249




       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $33,540.00, $3,900.00 and a 1999 Jeep Grand

Cherokee Limited, VIN 1J4GW68N7XC672415, held by any person or entity, is hereby forever

barred and foreclosed.

       C.    The $33,540.00, $3,900.00 and a 1999 Jeep Grand Cherokee Limited, VIN

1J4GW68N7XC672415, be, and the same hereby are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

properties in accordance with law.

       DATED this 16th day of July, 2007.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
